           Case 2:20-cr-00029-JMA Document 6 Filed 12/26/19 Page 1 of 1 PageID #: 14
                       CRIMINAL CAUSE FOR ARRAIGNMENT/INITIAL APPEARANCE

BEFORE: Anne Y. Shields, U.S.M.J.                                                                DATE: 12/26/19
DOCKET #: MJ-19-1203-AYS                                CAPTION:       USA v. Berretta

DEFENDANT: Jonathan Berretta                            COUNSEL: Randi Chavis
 X Present   Not Present     X In custody               Bail    CJA      Retained              X Federal Defenders


A.U.S.A.: Justina Geraci

COURT REPORTER:             N/A           PRETRIAL REPORT PREPARED BY: Mallori Brady
                                                                               X present                    not present

FTR: 2:36-2:45                                                   COURTROOM DEPUTY: JT

 X     Defendant(s) arraigned on the Complaint.

 X     Defendant(s) initial appearance.

       Waiver of Speedy Indictment executed:      Time excluded from                      to

       Preliminary Hearing Scheduled for:                                  At                   before


 X     Preliminary Hearing Waived. Waiver executed.

       Order Setting Conditions of Release and Bond entered for defendant(s). Special conditions apply. See bond for
details.

       Temporary Order of Detention entered for defendant (s):

       Detention Hearing scheduled for:                   at                    before Magistrate Judge Anne Y.
        Shields.

 X    Permanent Order of Detention entered for defendant.

       Status Conference set for:

       Defendant(s)                                 continued on Bond.

 X    Defendant remains in custody.

       Defendant released on bond.

OTHER:

FBI Agent sworn as to complaint.

No bail application presented at this time.
